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          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
                 BEFORE THE HONORABLE CLAIRE R. KELLY
                                                )
NEXTEEL CO., LTD. ET AL.,                       )
                                                )
             Plaintiff and Consolidated         )
             Plaintiffs,                        )
                                                )
and                                             )
                                                )
HUSTEEL CO., LTD. and HYUNDAI                   )
STEEL COMPANY,                                  )
                                                )
             Plaintiff-Intervenors,             )
                                                )
             v.                                 )
                                                )
UNITED STATES,                                  )              Consol. Ct. No. 20-03898
                                                )
             Defendant,                         )
                                                )
and                                             )
                                                )
CALIFORNIA STEEL INDUSTRIES, INC.               )
ET AL.,                                         )
                                                )
             Defendant-Intervenors and          )
             Consolidated Defendant             )
             Intervenors.                       )
                                                )
        PLAINTIFF-INTERVENOR HUSTEEL CO., LTD.’S COMMENTS ON
         REDETERMINATION PURSUANT TO COURT REMAND ORDER
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                                              Ltd.
August 17, 2022




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           IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
                  BEFORE THE HONORABLE CLAIRE R. KELLY
                                                   )
NEXTEEL CO., LTD. ET AL.,                          )
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              Plaintiff and Consolidated           )
              Plaintiffs,                          )
                                                   )
and                                                )
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HUSTEEL CO., LTD. and HYUNDAI                      )
STEEL COMPANY,                                     )
                                                   )
              Plaintiff-Intervenors,               )
                                                   )
              v.                                   )
                                                   )
UNITED STATES,                                     )              Consol. Ct. No. 20-03898
                                                   )
              Defendant,                           )
                                                   )
and                                                )
                                                   )
CALIFORNIA STEEL INDUSTRIES, INC.                  )
ET AL.,                                            )
                                                   )
              Defendant-Intervenors and            )
              Consolidated Defendant               )
              Intervenors.                         )
                                                   )


         PLAINTIFF-INTERVENOR HUSTEEL CO., LTD.’S COMMENTS ON
          REDETERMINATION PURSUANT TO COURT REMAND ORDER

       On behalf of Plaintiff-Intervenor Husteel Co., Ltd. (“Husteel”), we hereby submit

comments on the U.S. Department of Commerce’s (“Commerce”) July 15, 2022 Final Results of

Redetermination Pursuant to Court Remand (“Final Remand Results”) in NEXTEEL Co., Ltd. et

al. v. United States, Slip Op. 22-37, Consol. Court No. 20-03898 (CIT 2022) (“NEXTEEL”). In

NEXTEEL, this Court remanded to Commerce its, (1) particular market situation (“PMS”)

determination and resulting adjustment to the reported cost of production (“COP’) for welded
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line pipe (“WLP”) for SeAH Steel Corporation (“SeAH”) and for purposes of calculating

constructed value (“CV”) for NEXTEEL Co. Ltd. (“NEXTEEL”); (2) application of the PMS

adjustment to SeAH for purposes of the sales-below COP test; (3) adjustment to NEXTEEL’s

CV to account for sales of non-prime products; (4) reclassification of NEXTEEL’s reported

losses relating to the suspended production of certain product lines; (5) denial of a constructed

export price (“CEP”) offset for SeAH; and (6) calculation of the rate assigned to the non-

examined companies in light of any adjustments made to the calculations for either respondent

stemming from this remand. See NEXTEEL at 36.

       In the Final Remand Results, Commerce recalculated the weighted-average dumping

margins of the mandatory respondents with no adjustment for a PMS. It is Husteel’s position

that Commerce’s Final Remand Results comply with the U.S. Court of International Trade’s

decision regarding the PMS issue, insofar as it no longer distorts the respondents’ margins

pursuant to an alleged PMS. Husteel urges the Court to affirm the Final Remand Results with

respect to the PMS issue.

       Further, as a non-mandatory respondent in the proceeding under litigation whose rate will

be determined based on the rates of the mandatory respondents, Husteel concurs with the

comments on the Final Remand Results the filed by Plaintiff NEXTEEL and Consolidated

Plaintiff SeAH regarding the issues particular to those parties.




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                                        Respectfully submitted,

                                        /s/ Brady W. Mills
                                        Donald B. Cameron
                                        Julie C. Mendoza
                                        R. Will Planert
                                        Brady W. Mills
                                        Mary S. Hodgins
                                        Eugene Degnan


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                                        Ltd.
August 17, 2022




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                              CERTIFICATE OF COMPLIANCE

       The undersigned hereby certifies that the foregoing brief complies with the Standard

Chambers Procedures of the U.S. Court of International Trade in that it contains 305 words

including text, footnotes, and headings and excluding the table of contents, table of authorities

and counsel’s signature block, according to the word count function of Microsoft Word 2016

used to prepare this brief.


                                                             /s/ Brady Mills
                                                             Brady Mills




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